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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 FRANCIS J. HENKEL,                                )
                                                   )
                                   Plaintiff,      )
                                                   ) C.A. No.
                     v.                            )
                                                   )
 TOWER HILL SCHOOL ASSOCIATION,                    ) JURY DEMAND
                                                   )
                                 Defendant.        )


                                          COMPLAINT

               COMES NOW, Plaintiff Francis J. Henkel, by and through his undersigned

counsel, and files his Complaint against Defendant Tower Hill School Association and states as

follows:

                                            PARTIES

               1.      Plaintiff Francis J. Henkel (“Plaintiff”) is a citizen of the United States and

a resident of the State of Delaware.

               2.      Defendant Tower Hill School Association (“Defendant”) is a private

school and corporation organized and existing under the laws of the State of Delaware, and

whose agent for service of process is Tower Hill School Association, 2813 W. 17th Street,

Wilmington, Delaware 19806.

                                  NATURE OF THE ACTION

               3.      This action is brought pursuant to the provisions of the Equal Protection

Clause of the Fourteenth Amendment of the United States Constitution (“Fourteenth

Amendment”) as enforced by 42 U.S.C. § 1983 (“Section 1983”); and the Age Discrimination in

Employment Act of 1967, as amended, 29 U.S.C. § 621-34 (the “ADEA”).
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               4.      Plaintiff seeks damages and other appropriate legal and equitable relief,

including attorneys’ fees, pursuant to Section 1983 and 29 U.S.C. § 626.

                                 JURISDICTION AND VENUE

               5.      This Court has jurisdiction based upon the existence of a question arising

under the laws of the United States of America pursuant to 28 U.S.C. § 1331.

               6.      Venue is appropriate in this District since all of the acts alleged in this

Complaint occurred within the District of Delaware.

                      EXHAUSTION OF ADMINISTRATIVE RIGHTS

               7.      On September 3, 2018, Plaintiff timely filed a Charge of Discrimination

with the Equal Employment Opportunity Commission (“EEOC”).

               8.      The EEOC issued a Dismissal and Notice of Rights on September 8, 2018,

a copy of which is attached hereto as Exhibit A.

                                   FACTUAL BACKGROUND

               9.      Plaintiff was employed by the Defendant for approximately twenty-five

(25) years, first in a part-time and, later, a full-time capacity, as a counselor in the Middle and

Upper Schools.

               10.     Plaintiff performed the duties of counselor in a competent and effective

manner.

               11.     Plaintiff has a Master’s Degree from the University of Pennsylvania; and

post-masters training in Family Therapy and School Consultation from the Philadelphia Child

Guidance Clinic.

               12.     Plaintiff was and is qualified for the position of counselor.

               13.     Plaintiff had an annual contract with Defendant, which was renewed

yearly.


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                14.     In or about 2015, Defendant hired a new Head of School, Elizabeth

Speers.

                15.     Upon joining Defendant, Ms. Speers undertook a campaign to replace

older employees with younger employees.

                16.     In February 2018, when Plaintiff had not yet received his annual contract,

an Assistant Head of School told Plaintiff not to worry and that Plaintiff would receive a contract

the following week.

                17.     Plaintiff did not receive the contract as promised.

                18.     Instead, Ms. Speers and her Assistant Heads of School met with Plaintiff

and informed him that his position as counselor to the Middle and Upper Schools was being

eliminated as part of a reorganization of Defendant’s counseling services.

                19.     Ms. Speers stated that the counselor position would be replaced with a

psychologist who possessed a doctoral degree in psychology.

                20.     Plaintiff’s employment was terminated and his contract was not renewed.

                21.     Contrary to what Defendant had told Plaintiff, Defendant thereafter posted

an advertisement for Plaintiff’s position, which stated that an advanced degree in school

psychology was not required.

                22.     At the time he was terminated, Plaintiff was sixty-two (62) years old.

                23.     Plaintiff’s position was filled by an individual who is significantly

younger than Plaintiff.

                                           COUNT I
                          Age Discrimination in Employment Act of 1967
                                 as amended, 29 U.S.C. § 621-34

                24.     Plaintiff repeats and re-alleges the prior allegations of the Complaint as

specifically set forth herein.


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                25.      Plaintiff is an individual over forty (40) years of age.

                26.      At all times, Plaintiff was qualified to perform the duties of his position.

                27.      The reasons given by Defendant for terminating Plaintiff’s employment

were a mere pretext for age discrimination.

                28.      The actions of Defendant in terminating the employment of Plaintiff were

in violation of 29 U.S.C. § 621-34.

                WHEREFORE, Plaintiff request the Court to enter judgement in his favor against

the Defendant as follows:

                         (a)    Declare the conduct by Defendant be in violation of Plaintiff’s

statutory rights.

                         (b)    Award Plaintiff back pay, future pay, and compensatory damages

for his losses from the date of his wrongful termination until the date of any judgement, and front

pay for future losses.

                         (c)    Award Plaintiff sufficient funds to compensate his for his pain and

mental anguish, which cannot otherwise be compensated by any equitable relief.

                         (d)    Award Plaintiff compensatory and punitive damages not otherwise

specified herein.

                         (e)    Award Plaintiff any and all liquidated damages, which would make

the Plaintiff “whole” and to which he is entitled.

                         (f)    Award Plaintiff attorneys’ fees, and the cost of this action, pre-

judgement and post-judgement interest; and,




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                    (g)      Award Plaintiff such other and further relief and this Court deems

just and proper.


                                              SMITH KATZENSTEIN JENKINS, LLP

                                       /s/ Margaret M. DiBianca
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Dated:   December 10, 2018             Attorneys for Plaintiff




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